                                                                                                                                                         ACLUM v. ICE
                                                                                                                                                       1:22‐cv‐10407‐PBS

               Bates Stamp Page      Withholding
Entry Number                                                                                                                                    Description of Records and Redactions, and Reasons for Redactions                                                                                                 Exemption(s) Applied
                  Number(s)          Full/Partial

                                                    Description of the Records: The cited bates pages contain internal agency group mailbox addresses. These group mailbox addresses are used for internal purposes only, to conduct agency work, including law enforcement activity, and serve no
                                                    public function.

                                                    Description of Redactions: The information redacted under (b)(7)(E) located after before "@ice.dhs.gov" contains law enforcement sensitive internal group mailbox e‐mail addresses.

                12, 124, 129, 432,                  Reasons for Redactions: FOIA Exemption (b)(7)(E) exempts from release information that would disclose law enforcement techniques, procedures, or guidance, the disclosure of which could reasonably be expected to allow a person to breach into
                                                                                                                                                                                                                                                                                                               Freedom of Information Act 5
     1         437, 439, 570, 601,      Partial     sensitive law enforcement systems. As an initial matter, the information contained in these records was compiled for a law enforcement purpose, specifically, ICE Officers, Special Agents and OPLA attorneys use internal email mailboxes to conduct
                                                                                                                                                                                                                                                                                                                   U.S.C. § 552 (b)(7)(E)
                       611                          their law enforcement duties. These email boxes contain and facilitate communications amongst ICE employees, ICE lawyers, ICE Officers and Special Agents, made to conduct and advance the ICE mission, which is to protect the United States from
                                                    the cross‐border crime and illegal immigration that threaten national security and public safety. The disclosure of the agency group mailbox addresses could aid unauthorized parties in gaining improper access to law enforcement systems, including
                                                    through hacking, and assist in the unauthorized party’s navigation of those systems. If this information were made public, it would increase the chances that bad actors could harm the agency and its law enforcement duties by attempting to hack ICE
                                                    systems, such as through phishing scams, or by attacking ICE systems, such as through a brute force attack. Disclosure of the information, therefore, could permit people seeking to violate or circumvent the law to take proactive steps to counter
                                                    operational and investigative actions taken by ICE during enforcement operations. The disclosure of this information serves no public benefit, is not commonly known, and would not assist the public in understanding how the agency is carrying out
                                                    its statutory responsibilities.

                                                    Description of the Records: A 2‐page e‐mail Broadcast Announcement, located on bates pages 1 and 11, titled "Broadcast Announcement: OPLA Operational Guidance Regarding Central American Resource Center v. Jaddou, No. 20‐2363 (D.D.C.
                                                    dismissed per stipulation Mar. 28, 2022)" dated Wednesday, April 20, 2022, that contains the header "**SENSITIVE** ATTORNEY WORK PRODUCT**ATTORNEY‐CLIENT PRIVILEGE**" on bates page 1 and the footer "**SENSITIVE** ATTORNEY WORK
                                                    PRODUCT**ATTORNEY‐CLIENT PRIVILEGE**" on bates page 11. Bates page 11 also states "Questions about this guidance should be directed to OPLA FLO" and "This message includes internal guidance provided for internal OPLA use only and is not
                                                    intended for public disclosure. Please ensure that it is treated with applicable guidance." The Broadcast Announcement is from an OPLA Deputy Principal Legal Advisor to all OPLA attorneys.

                                                    Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                    prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Announcement contains attorney‐work product and relates to on‐going and active litigation(s),
                                                    specifically immigration proceedings across the country.
                                                                                                                                                                                                                                                                                                               Freedom of Information Act 5
     2                1, 11             Partial
                                                                                                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)
                                                    Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Announcement from the Deputy Principal Legal Advisor to Office of the Principal Legal Advisor (OPLA) attorneys regarding
                                                    litigation strategy in light of a recent settlement agreement that impacts OPLA attorneys exercising prosecutorial discretion. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from
                                                    senior attorneys to line attorneys regarding the impacts of exercising prosecutorial discretion in certain immigration removal proceedings, how agency attorneys can exercise prosecutorial discretion in light of the settlement agreement, as well as
                                                    what factors should be considered by the attorneys handling those litigations. The identifiable and foreseeable harm in disclosing this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each
                                                    other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be
                                                    fully informed about such issues as well as hinder their ability to assess any future litigation risks.



                                                    Description of the Records: An e‐mail Broadcast Message, titled "Broadcast Message: DHS Position on Connecticut Pardons" dated Wednesday, March 24, 2022, that contains the header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR
                                                    OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***". The bottom of the page also states "This message includes internal guidance provided for internal OPLA use only..." The Broadcast Message is from two (2) OPLA Deputy
                                                    Principal Legal Advisors to all OPLA attorneys.

                                                    Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                    prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically
                                                    immigration proceedings across the country.                                                                                                                                                                                                                Freedom of Information Act 5
     3                 12               Partial
                                                                                                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)
                                                    Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                    light of recent State legislative actions that could implicate the immigration consequences of a qualifying conviction. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior
                                                    attorneys to line attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new state legislative actions. The identifiable and foreseeable harm in
                                                    disclosing this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also
                                                    inhibit the candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




                                                                                                                                                                                                                                                                                                               EXHIBIT

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                                                                                                                                                      ACLUM v. ICE
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               Bates Stamp Page   Withholding
Entry Number                                                                                                                                 Description of Records and Redactions, and Reasons for Redactions                                                                                                   Exemption(s) Applied
                  Number(s)       Full/Partial

                                                 Description of the Records: An OPLA "Practice Pointers" case summary, titled "Matter of Velasquez‐Rios, 27 l&N Dec. 470 (BIA Oct. 4, 2018) (A[REDACTED] ‐ LOS) [Summary and Practice Pointers]" dated October 4, 2018. The Practice Pointers case
                                                 summary was drafted by an Associate Legal Advisor with the OPLA Immigration Law and Practice Division (ILPD) and sent to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Practice Pointers case summary contains attorney‐work product and relates to on‐going and active litigation(s),
                                                 specifically immigration proceedings across the country.                                                                                                                                                                                                     Freedom of Information Act 5
     4              16‐18            Partial
                                                                                                                                                                                                                                                                                                                   U.S.C. § 552 (b)(5)
                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from the OPLA Immigration Law and Practice Division (ILPD) to all OPLA attorneys regarding litigation strategy in light of
                                                 recent Board of Immigration Appeals (Board) decision(s) that could implicate the immigration consequences of a qualifying conviction. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including
                                                 guidance from senior attorneys to line attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Board decision(s). The identifiable and
                                                 foreseeable harm in disclosing this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these
                                                 records would also inhibit the candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 4‐page e‐mail Broadcast Message, located on bates pages 26‐29, titled "Broadcast Message: Implementing Matter of L‐E‐A‐, 28 l&N Dec. 304 (A.G. 2021), and Matter of A‐B‐, 28 l&N Dec. 307 (A.G. 2021)" dated
                                                 Thursday, June 24, 2021, that contains the header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA***" on bates page 26 and the footer "***PRIVILEGED*** ATTORNEY WORK
                                                 PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 29. Bates page 29 also states "This message includes internal guidance provided for internal OPLA use only and is not intended for public
                                                 disclosure. Please ensure that it is treated consistent with applicable guidance. If there are any legal questions about this guidance, please do not hesitate to reach out to ILPD (ILPD‐E or ILPD‐W), as appropriate." The Broadcast Message is from two
                                                 (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.


                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically          Freedom of Information Act 5
     5              26‐29            Partial
                                                 immigration proceedings across the country.                                                                                                                                                                                                                       U.S.C. § 552 (b)(5)


                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of recent Board of Immigration Appeals (Board) decision(s) that could implicate the immigration consequences of removal qualifications. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including
                                                 guidance from senior attorneys to line attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Board decision(s). The identifiable and
                                                 foreseeable harm in disclosing this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these
                                                 records would also inhibit the candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 4‐page e‐mail Broadcast Message, located on bates pages 30‐33, titled "Broadcast Message: Implement ing Niz‐Chavez v. Garland, 141 S. Ct. 1474 (2021)" dated Thursday, June 3, 2021, that contains the header
                                                 "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 30 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT
                                                 FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 33. Bates page 33 also states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent
                                                 with applicable guidance. If there are any legal questions about this guidance or Niz‐Chavez, please do not hesitate to reach out to ILPD (Niz‐Chavez Discussion Board, ILPD‐E or ILPD‐W), as appropriate." The Broadcast Message is from two (2) OPLA
                                                 Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                              Freedom of Information Act 5
     6              30‐33            Partial     immigration proceedings across the country.
                                                                                                                                                                                                                                                                                                                   U.S.C. § 552 (b)(5)


                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of a recent Supreme Court decision regarding Notices to Appear. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation
                                                 strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Supreme Court decision(s). The identifiable and foreseeable harm in disclosing this information would be its
                                                 chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues
                                                 between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




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               Bates Stamp Page   Withholding
Entry Number                                                                                                                                 Description of Records and Redactions, and Reasons for Redactions                                                                                                    Exemption(s) Applied
                  Number(s)       Full/Partial

                                                 Description of the Records: A 2‐page e‐mail Broadcast Message, located on bates pages 34‐35, titled "Broadcast Message: Implementing Pereida v. Wilkinson" dated Thursday, March 11, 2021, that contains the header "***PRIVILEGED***
                                                 ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 34 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION
                                                 OUTSIDE OPLA ***" on bates page 35. Bates page 35 also states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable
                                                 guidance. If there are any questions about this guidance or Pereida, please do hesitate to reach out to ILPD (ILPD‐E or ILPD‐W), as appropriate." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                               Freedom of Information Act 5
     7              34‐35                        immigration proceedings across the country.
                                                                                                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of a recent Supreme Court decision that could implicate the immigration consequences regarding the burden of proof on applicants for discretionary relief. The information withheld contained the thoughts, opinions, and impressions of
                                                 agency counsel, including guidance from senior attorneys to line attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Supreme Court
                                                 decision(s).The identifiable and foreseeable harm in disclosing this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation.
                                                 Further, disclosure of these records would also inhibit the candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess
                                                 any future litigation risks.


                                                 Description of the Records: A 2‐page e‐mail Broadcast Message, located on bates pages 36‐37, titled "Broadcast Message: Permanent Injunction Impacting Burden and Standard of Proof in INA 236(a) Bond Hearings ‐‐ Brito v. Barr, No. 19‐11314,
                                                 2019 WL 6333093 (D. Mass. Nov. 27, 2019)" dated Monday, December 9, 2019, that contains the header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page
                                                 36 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 37. Bates page 37 also states "This message includes internal guidance provided for
                                                 internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable guidance." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically           Freedom of Information Act 5
     8              36‐37
                                                 immigration proceedings across the country.                                                                                                                                                                                                                        U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of a recent U.S. District Court decision regarding the standard of proof for bond hearings. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line
                                                 attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from the U.S. District Court decision(s). The identifiable and foreseeable harm in disclosing
                                                 this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the
                                                 candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




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               Bates Stamp Page   Withholding
Entry Number                                                                                                                                  Description of Records and Redactions, and Reasons for Redactions                                                                                                     Exemption(s) Applied
                  Number(s)       Full/Partial
                                                 Description of the Records: A 4‐page e‐mail Broadcast Message, located on bates pages 41‐44, titled "Broadcast Message: Updated Guidance ‐‐ Matter of Negusie, 28 I&N Dec. 399 (A.G. 2021)" dated Thursday, December 16, 2021, that contains the
                                                 header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 41 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE
                                                 ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 44. Bates page 43 states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated
                                                 consistent with applicable guidance. If you have questions about this guidance, or Negusie‐related issues arise your case, please contact HRVLD or ILPD (ILPD‐E or ILPD‐W), as appropriate." The Broadcast Message is from two (2) OPLA Deputy
                                                 Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                                 Freedom of Information Act 5
     9              41‐44            Partial     immigration proceedings across the country.
                                                                                                                                                                                                                                                                                                                      U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of recent Board of Immigration Appeals (Board) decision(s) regarding the persecutor bar. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line
                                                 attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Board decision(s). The identifiable and foreseeable harm in disclosing this
                                                 information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid
                                                 discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 3‐page e‐mail Broadcast Message, located on bates pages 45‐47, titled "Broadcast Message: Guidance on Sensitive Gender‐Based PSG Issues in EOIR and Circuit Court Litigation" dated Monday, March 7, 2022, that
                                                 contains the header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA***" on bates page 45. Bates page 47 states "This message includes internal guidance provided for
                                                 internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable guidance. If there are any legal questions about this guidance, please do not hesitate to reach out to ILPD (ILPD‐E or ILPD‐W),
                                                 as appropriate." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically
                                                 immigration proceedings across the country.                                                                                                                                                                                                                     Freedom of Information Act 5
    10              45‐47            Partial
                                                                                                                                                                                                                                                                                                                      U.S.C. § 552 (b)(5)
                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy
                                                 in light of recent Board of Immigration Appeals (Board) decision(s) regarding sensitive gender‐based issues that may arise in Immigration and Circuit Court. The information withheld contained the thoughts, opinions, and impressions of agency
                                                 counsel, including guidance from senior attorneys to line attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Board decision(s). The
                                                 identifiable and foreseeable harm in disclosing this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further,
                                                 disclosure of these records would also inhibit the candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future
                                                 litigation risks.




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               Bates Stamp Page   Withholding
Entry Number                                                                                                                                Description of Records and Redactions, and Reasons for Redactions                                                                                                   Exemption(s) Applied
                  Number(s)       Full/Partial


                                                 Description of the Records: A 3‐page e‐mail Broadcast Message, located on bates pages 48‐50, titled "Broadcast Message: Impact of Borden v. United States, 141 S. Ct. 1817 (2021)" dated Friday, July 2, 2021, that contains the header
                                                 "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 48 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT
                                                 FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 50. Bates page 49 states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent with
                                                 applicable guidance. If there are any legal questions about this guidance or Borden please do not hesitate to reach out to ILPD (ILPD‐E or ILPD‐W), as appropriate." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all
                                                 OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                                                                                                                                                                                                                                                                             Freedom of Information Act 5
    11              48‐50                        prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                                  U.S.C. § 552 (b)(5)
                                                 immigration proceedings across the country.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of a recent Supreme Court decision regarding crimes that qualify as a violent felony. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys
                                                 regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Supreme Court decision(s).The identifiable and foreseeable harm in disclosing this
                                                 information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid
                                                 discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.



                                                 Description of the Records: A 3‐page e‐mail Broadcast Message, located on bates pages 51‐53, titled "Broadcast Message: Implementing Barton v. Barr, 140 S. Ct. 1442 (2020)" dated Friday, June 19, 2020, that contains the header
                                                 "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 51 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT
                                                 FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 53. Bates page 53 also states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent
                                                 with applicable guidance. If there are any questions about this guidance, Barton, or pre‐order custody, please do hesitate to reach out to ILPD (ILPD‐E or ILPD‐W), as appropriate." The Broadcast Message is from two (2) OPLA Deputy Principal Legal
                                                 Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                                                                                                                                                                                                                                                                             Freedom of Information Act 5
    12              51‐53                        prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                                  U.S.C. § 552 (b)(5)
                                                 immigration proceedings across the country.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of a recent Supreme Court decision regarding the stop‐time rule. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation
                                                 strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Supreme Court decision(s).The identifiable and foreseeable harm in disclosing this information would be its
                                                 chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues
                                                 between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




                                                 Description of the Records: A 3‐page e‐mail Broadcast Message, located on bates pages 54‐56, titled "Broadcast Message: Implementing Gayle v. Warden Monmouth Cnty. Corr. Inst. Within the Jurisdiction of the Third Circuit" dated Thursday,
                                                 September 23, 2021, that contains the header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 54 and the footer "***PRIVILEGED*** ATTORNEY WORK
                                                 PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 56. The bottom of bates page 55 and the top of bates page 56 states "This message includes internal guidance provided for internal OPLA use
                                                 only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable guidance." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically         Freedom of Information Act 5
    13              54‐56
                                                 immigration proceedings across the country.                                                                                                                                                                                                                      U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a broadcast message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of a recent U.S. Court of Appeals decision regarding due process and proper inclusion within the INA. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to
                                                 line attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new U.S. Court of Appeals decision(s).The identifiable and foreseeable harm in
                                                 disclosing this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also
                                                 inhibit the candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




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               Bates Stamp Page   Withholding
Entry Number                                                                                                                                Description of Records and Redactions, and Reasons for Redactions                                                                                                   Exemption(s) Applied
                  Number(s)       Full/Partial

                                                 Description of the Records: A 3‐page e‐mail Broadcast Message, located on bates pages 57‐59, titled "Broadcast Message: Implementing Matter of Cruz‐Valdez, 28 l&N Dec. 326 (A.G. 2021)" dated Thursday, July 22, 2021, that contains the header
                                                 "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 57 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT
                                                 FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 59. Bates page 59 also states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent
                                                 with applicable guidance. If there are any legal questions about this guidance, please do not hesitate to reach out to ILPD (ILPD‐E or ILPD‐W), as appropriate." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA
                                                 attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                                                                                                                                                                                                                                                                             Freedom of Information Act 5
    14              57‐59                        prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                                  U.S.C. § 552 (b)(5)
                                                 immigration proceedings across the country.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of recent Attorney General decision(s) that could implicate administrative closure authority. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line
                                                 attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Attorney General decision(s). The identifiable and foreseeable harm in disclosing
                                                 this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the
                                                 candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.



                                                 Description of the Records: A 3‐page e‐mail Broadcast Message, located on bates pages 60‐62, titled "Broadcast Message: Implementing Matter of 0‐F‐A‐5‐, 27 l&N Dec. 709 (BIA 2019)" dated Tuesday, May 12, 2020, that contains the header
                                                 "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 60 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT
                                                 FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 62. Bates page 62 also states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent
                                                 with applicable guidance." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically         Freedom of Information Act 5
    15              60‐62
                                                 immigration proceedings across the country.                                                                                                                                                                                                                      U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of recent Board of Immigration Appeals (Board) decision(s) regarding the Convention Against Torture (CAT). The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior
                                                 attorneys to line attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Board decision(s). The identifiable and foreseeable harm in
                                                 disclosing this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also
                                                 inhibit the candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




                                                 Description of the Records: A 2‐page e‐mail Broadcast Message, located on bates pages 63‐64, titled "Broadcast Message: Implementing Matter of Reyes, 28 l&N Dec. 52 (A.G. July 30, 2020)" dated Monday, October 5, 2020, that contains the
                                                 header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 63 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE
                                                 ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 64. Bates page 64 also states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is
                                                 treated consistent with applicable guidance. If you have questions about this guidance, you may contact ILPD (ILPD‐E or ILPD‐W), as appropriate." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically         Freedom of Information Act 5
    16              63‐64
                                                 immigration proceedings across the country.                                                                                                                                                                                                                      U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of recent Attorney General decision(s) regarding removability and convictions. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys
                                                 regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Attorney General decision(s). The identifiable and foreseeable harm in disclosing this
                                                 information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid
                                                 discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




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               Bates Stamp Page   Withholding
Entry Number                                                                                                                                 Description of Records and Redactions, and Reasons for Redactions                                                                                                    Exemption(s) Applied
                  Number(s)       Full/Partial


                                                 Description of the Records: A 5‐page e‐mail Broadcast Message, located on bates pages 65‐69, titled "Broadcast Message: Implementing Matter of Thomas and Thompson, 27 I&N Dec. 674 (A.G. 2019)" dated Tuesday, December 31, 2019, that
                                                 contains the header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 65 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL
                                                 USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 69. Bates page 68 states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is
                                                 treated consistent with applicable guidance. If you have questions about Matter a/Thomas and Thompson or any of the guidance provided herein, please do not hesitate to contact ILPD (ILPD‐E or ILPD‐W) or FLO, as appropriate." The Broadcast
                                                 Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                                                                                                                                                                                                                                                                               Freedom of Information Act 5
    17              65‐69                        prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney‐work product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)
                                                 immigration proceedings across the country.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of recent Attorney General decision(s) regarding sentencing and convictions. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding
                                                 litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Attorney General decision(s).The identifiable and foreseeable harm in disclosing this information
                                                 would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of
                                                 issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.



                                                 Description of the Records: A 2‐page e‐mail Broadcast Message, located on bates pages 70‐71, titled "Broadcast Message: Implementing Ramos v. Louisiana, 140 S. Ct. 1390 (2020)" dated Thursday, June 11, 2020, that contains the header
                                                 "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 70 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT
                                                 FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 71. Bates page 71 also states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent
                                                 with applicable guidance. If you have questions about this guidance or about Ramos, please do not hesitate to contact ILPD (ILPD‐E or ILPD‐W), as appropriate." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA
                                                 attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                                                                                                                                                                                                                                                                               Freedom of Information Act 5
    18              70‐71                        prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)
                                                 immigration proceedings across the country.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a broadcast message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy
                                                 in light of a recent Supreme Court decision regarding the Sixth Amendment and convictions. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys
                                                 regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Supreme Court decision(s). The identifiable and foreseeable harm in disclosing this
                                                 information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid
                                                 discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.



                                                 Description of the Records: A 3‐page e‐mail Broadcast Message, located on bates pages 72, 124, and 125, titled "Broadcast Message: Saravia Settlement Agreement" dated Thursday, January 21, 2021, that contains the header "***PRIVILEGED***
                                                 ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 72 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION
                                                 OUTSIDE OPLA ***" on bates page 125. Bates page 124 states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable
                                                 guidance. For questions regarding the terms of the settlement agreement please contact EROLD at [REDACTED]@ice.dhs.gov." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically           Freedom of Information Act 5
    19           72, 124, 125
                                                 immigration proceedings across the country.                                                                                                                                                                                                                        U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of a recent U.S. District Court decision regarding Saravia class members and noncitizen minors. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line
                                                 attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new U.S. District Court decision(s). The identifiable and foreseeable harm in disclosing
                                                 this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the
                                                 candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




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Entry Number                                                                                                                                Description of Records and Redactions, and Reasons for Redactions                                                                                                  Exemption(s) Applied
                  Number(s)       Full/Partial

                                                 Description of the Records: A 4‐page e‐mail Broadcast Message, located on bates pages 126‐129, titled "CORRECTED Broadcast Message: Implementing Matter of Castillo‐Perez, 27 I&N Dec. 664 (A.G. 2019)" dated Tuesday, December 31, 2019, that
                                                 contains the header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 126 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL
                                                 USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 129. Bates page 128 states “This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is
                                                 treated consistent with applicable guidance. If you have questions about continuances, Matter of Castillo‐Perez, or any of the guidance provided herein, please do not hesitate to contact ILPD (ILPD‐E or ILPD‐W) or FLO, as appropriate." The
                                                 Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                                                                                                                                                                                                                                                                           Freedom of Information Act 5
    20             126‐129                       prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                                U.S.C. § 552 (b)(5)
                                                 immigration proceedings across the country.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy
                                                 in light of recent Attorney General decision(s) regarding DUI convictions and moral character. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line
                                                 attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Attorney General decision(s). The identifiable and foreseeable harm in disclosing
                                                 this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the
                                                 candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 4‐page e‐mail Broadcast Message, located on bates pages 129‐132, titled "Broadcast Message: Implementing Matter of Castillo‐Perez, 27 l&N Dec. 664 (A.G. 2019)" dated Tuesday, December 31, 2019, that contains the
                                                 header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 129 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE
                                                 ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 132. Bates page 131 states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated
                                                 consistent with applicable guidance. If you have questions about continuances, Matter of Castillo‐Perez, or any of the guidance provided herein, please do not hesitate to contact ILPD (ILPD‐E or ILPD‐W) or FLO, as appropriate." The Broadcast
                                                 Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                                                                                                                                                                                                                                                                           Freedom of Information Act 5
    21             129‐132                       prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                                U.S.C. § 552 (b)(5)
                                                 immigration proceedings across the country.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of recent Attorney General decision(s) regarding moral character. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation
                                                 strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Attorney General decision(s).The identifiable and foreseeable harm in disclosing this information would be its
                                                 chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues
                                                 between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 1‐page e‐mail Broadcast Message, located on bates page 133, titled "Foreign Fugitive Portfolio ‐ INTERPOL Transition" dated Monday, March 4, 2019. Bates page 133 states "This message includes internal guidance
                                                 provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable guidance." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically
                                                 immigration proceedings across the country. The information being withheld under FOIA Exemption (b)(7)(E) contains law enforcement sensitive (LES) information regarding INTERPOL Notices and the LES processes and procedures related to these
                                                 LES Notices.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy
                                                                                                                                                                                                                                                                                                           Freedom of Information Act 5
    22               133                         involving INTERPOL Notices. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation strategy in immigration court; and thoughts
                                                                                                                                                                                                                                                                                                            U.S.C. § 552 (b)(5), (b)(7)(E)
                                                 and guidance on how to use and verify INTERPOL Notices in removal proceedings. The identifiable and foreseeable harm in disclosing this information would be its chilling effect on the ability of agency attorneys to effectively communicate with
                                                 each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to
                                                 be fully informed about such issues as well as hinder their ability to assess any future litigation risks.

                                                 FOIA Exemption (b)(7)(E): FOIA Exemption (b)(7)(E) exempts from release information that would disclose law enforcement techniques, procedures, or guidance, the disclosure of which could reasonably be expected to risk circumvention of the law.
                                                 Disclosure of law enforcement sensitive techniques and procedures related to Interpol Notices could reveal techniques and/or procedures for law enforcement investigations or prosecutions or disclose guidelines for law enforcement investigations
                                                 or prosecutions which could reasonably be expected to risk circumvention of the law. Disclosure of these techniques and practices could permit people seeking to violate or circumvent the law to take proactive steps to counter operational and
                                                 investigative actions taken by ICE or other law enforcement agencies, during criminal and enforcement operations. The disclosure of this information serves no public benefit and would not assist the public in understanding how the agency is
                                                 carrying out its statutory responsibilities.




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Entry Number                                                                                                                                 Description of Records and Redactions, and Reasons for Redactions                                                                                                    Exemption(s) Applied
                  Number(s)       Full/Partial


                                                 Description of the Records: A 4‐page e‐mail Broadcast Message, located on bates pages 429‐432, titled "Guidance (Ninth Circuit): Impact of Jennings v. Rodriguez, 138 S. Ct. 830 (2018), on Casas‐Castrillon v. Dep"t of Homeland Sec., 535 F.3d 942
                                                 (9th Cir. 2008), and Diouf v. Napolitano ("Diouf II"), 634 F.3d 1‐81 (9th Cir. 2011)" dated Monday, April 13, 2018. Bates page 432 states "We will provide additional updated guidance as it becomes necessary and appropriate. In the meantime, if you
                                                 have questions about Jennings v. Rodriguez, any of the above practice pointers or guidance, or about other custody issues, please contact DCLD (REDACTED@ice.dhs.gov), EROLD (REDACTED@ice.dhs.gov), or ILPD (REDACTED@ice.dhs.gov), as
                                                 appropriate." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically           Freedom of Information Act 5
    23             429‐432
                                                 immigration proceedings across the country.                                                                                                                                                                                                                        U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a broadcast message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of a recent Supreme Court decision regarding Jennings v. Rodriguez, custody and detention. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to
                                                 associate attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Supreme Court decision(s).The identifiable and foreseeable harm in
                                                 disclosing this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also
                                                 inhibit the candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 3‐page e‐mail Broadcast Message, located on bates pages 433‐435, titled "Guidance on Redacting the Form I‐213" dated Monday, September 16, 2019. Bates page 433 states "FLO, together with ILPD and GILD,
                                                 prepared the attached guidance detailing the appropriate redactions on the I‐213. Effective immediately, please ensure that your practice is consistent with this guidance" and "If you have any questions, please discuss with your management team."
                                                 The Broadcast Message is from an OPLA Deputy Principal Legal Advisor to all OPLA attorneys. The information withheld pursuant to FOIA Exemption (b)(7)(E) on bates pages 434 and 435 was inadvertently marked (b)(7)(E) and should have been
                                                 marked (b)(5). As such, ICE is not asserting FOIA Exemption (b)(7)(E) on bates pages 434 and 435.


                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically
                                                 immigration proceedings across the country.                                                                                                                                                                                                                   Freedom of Information Act 5
    24             433‐435           Partial
                                                                                                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy
                                                 involving the Form I‐213 and what information should be redacted on those Forms. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys
                                                 regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome challenges involving information contained on the Form I‐213. The identifiable and foreseeable harm in disclosing this information
                                                 would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of
                                                 issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




                                                 Description of the Records: A 2‐page e‐mail Broadcast Message, located on bates pages 436‐437, titled "Implementation of the Modified Nationwide Preliminary Injunction in Padilla v. ICE, No. 18‐928, 2019 WL 2766720 (W.D. Wash. July 2, 2019)"
                                                 dated Tuesday, July 23, 2019, that contains the header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 436 and the footer "***PRIVILEGED*** ATTORNEY
                                                 WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 437. Bates page 437 also states "This message includes internal guidance provided for internal OPLA use only and is not intended for
                                                 public disclosure. Please ensure that it is treated consistent with applicable guidance." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically           Freedom of Information Act 5
    25             436‐437           Partial
                                                 immigration proceedings across the country.                                                                                                                                                                                                                        U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a broadcast message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of a recent U.S. District Court decision regarding burden of proof and bond hearings. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys
                                                 regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new U.S. District Court decision(s). The identifiable and foreseeable harm in disclosing this
                                                 information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid
                                                 discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




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               Bates Stamp Page   Withholding
Entry Number                                                                                                                                 Description of Records and Redactions, and Reasons for Redactions                                                                                                    Exemption(s) Applied
                  Number(s)       Full/Partial

                                                 Description of the Records: A 3‐page e‐mail Broadcast Message, located on bates pages 437‐439, titled "Implementing Matter of M‐S‐, 27 I&N Dec. 509 (A.G. 2019)" dated Monday, July 15, 2019, that contains the header "***PRIVILEGED***
                                                 ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 437 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION
                                                 OUTSIDE OPLA ***" on bates page 439. Bates page 439 also states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable
                                                 guidance." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically           Freedom of Information Act 5
    26             437‐439           Partial
                                                 immigration proceedings across the country.                                                                                                                                                                                                                        U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy
                                                 in light of recent Attorney General decision(s) regarding parole. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation strategy
                                                 in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Attorney General decision(s). The identifiable and foreseeable harm in disclosing this information would be its chilling
                                                 effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues between
                                                 employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 4‐page e‐mail Broadcast Message, located on bates pages 442‐445, titled "Matter of L‐A‐B‐R‐, 27 I&N Dec. 405 (A.G. 2018)" dated Friday, August 24, 2018, that contains the header "***PRIVILEGED*** ATTORNEY
                                                 WORK PRODUCT***FOR OFFICIAL USE ONL Y***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 442 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE
                                                 OPLA ***" on bates page 445. Bates page 445 also states "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable guidance. If
                                                 you have questions about continuances, Matter of L‐A‐B‐R‐, or any of the guidance provided herein, please do not hesitate to contact ILPD (ILPD‐E or ILPD‐W) or FLO, as appropriate." The Broadcast Message is from two (2) OPLA Deputy Principal
                                                 Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                                                                                                                                                                                                                                                                               Freedom of Information Act 5
    27             442‐445           Partial     prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)
                                                 immigration proceedings across the country.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a broadcast message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of recent Attorney General decision(s) regarding the "good cause" standard. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding
                                                 litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Attorney General decision(s). The identifiable and foreseeable harm in disclosing this information
                                                 would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of
                                                 issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.



                                                 Description of the Records: A 5‐page e‐mail Broadcast Message, located on bates pages 501‐505, titled "Operation Horizon" dated Tuesday, November 16, 2021. Bates page 505 states "This message includes internal guidance provided for internal
                                                 OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable guidance." and "Legal questions about this guidance should be directed to ILPD (ILPD‐E or ILPD‐W), as appropriate. Questions
                                                 regarding implementation of the program should be directed to OPLA FLO." The Broadcast Message is from the OPLA Principal Legal Advisor to all OPLA attorneys. ICE is no longer asserting FOIA Exemption (b)(7)(E) on bates page 501.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                               Freedom of Information Act 5
    28             501‐505           Partial     immigration proceedings across the country.
                                                                                                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from the Principal Legal Advisor to Office of the Principal Legal Advisor attorneys regarding litigation strategy involving
                                                 Operation Horizon and Notices to Report. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation strategy in immigration court;
                                                 and thoughts and guidance on how agency attorneys can overcome challenges involving Operation Horizon and Notices to Report. The identifiable and foreseeable harm in disclosing this information would be its chilling effect on the ability of agency
                                                 attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues between employees, which would, in turn,
                                                 hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




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               Bates Stamp Page   Withholding
Entry Number                                                                                                                                    Description of Records and Redactions, and Reasons for Redactions                                                                                                          Exemption(s) Applied
                  Number(s)       Full/Partial


                                                 Description of the Records: A 3‐page e‐mail Broadcast Message, located on bates pages 568‐570, titled "Sessions v. Dimaya, 138 S. Ct. 1204 (2018)" dated Thursday, May 3, 2018. Bates page 569 states "In light of Dimaya, OPLA attorneys should
                                                 consider the following practice pointers:" and bates page 570 states "If you have questions about Dimaya or any of the above practice pointers, please feel free to contact ILPD [REDACTED@ice.dhs.gov or [REDACTED]@ice.dhs.gov)." The Broadcast
                                                 Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                                        Freedom of Information Act 5
    29             568‐570           Partial     immigration proceedings across the country.
                                                                                                                                                                                                                                                                                                                             U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of a recent Supreme Court decision regarding crimes of violence. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation
                                                 strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Supreme Court decision(s). The identifiable and foreseeable harm in disclosing this information would be its
                                                 chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues
                                                 between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 14‐page OPLA "Practice Pointers" case summary, located on bates pages 574‐585, titled "Matter of L‐E‐A‐, 27 I&N Dec. 40 (BIA 2017) [Summary and Practice Pointers]" created on July 17, 2017. Bates page 582 states
                                                 "Yes, we DO realize that this guidance is almost as long as the L‐E‐A‐ decision itself, and, in fact, with this post‐script, it is, in fact, now just as long, but we nevertheless hope you find it useful! Should you have any questions about Matter of L‐E‐A‐, or
                                                 protection law issues more generally, please do not hesitate to reach out to ILPD, via the ILPD‐E or ILPD‐W mailboxes." The Practice Pointers case summary was drafted by an Associate Legal Advisor with the OPLA Immigration Law and Practice
                                                 Division (ILPD) and sent to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Practice Pointers case summary contains attorney work‐product and relates to on‐going and active litigation(s),                    Freedom of Information Act 5
    30             574‐585           Partial
                                                 specifically immigration proceedings across the country.                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Practice Pointers message from the OPLA Immigration Law and Practice Division (ILPD) to all OPLA attorneys regarding litigation strategy in
                                                 light of recent Board of Immigration Appeals (Board) decision(s) regarding asylum and persecution. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line
                                                 attorneys regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Board decision(s). The identifiable and foreseeable harm in disclosing this
                                                 information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid
                                                 discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.

                                                 Description of the Records: A 11‐page OPLA "Practice Pointers" case summary, located on bates pages 586‐596, titled "Matter of Negusie, 28 I&N Dec. 120 (A.G. 2020) [Summary and Practice Pointers]" created on December 16, 2021. The Practice
                                                 Pointers case summary was drafted by an Associate Legal Advisor with the OPLA Immigration Law and Practice Division (ILPD)and sent to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Practice Pointers case summary contains attorney work‐product and relates to on‐going and active litigation(s),
                                                 specifically immigration proceedings across the country.                                                                                                                                                                                                               Freedom of Information Act 5
    31             586‐596           Partial
                                                                                                                                                                                                                                                                                                                             U.S.C. § 552 (b)(5)
                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a broadcast message from the OPLA Immigration Law and Practice Division (ILPD) to all OPLA attorneys regarding litigation strategy in light of
                                                 recent Attorney General decision(s) regarding asylum, removal, and persecution. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding
                                                 litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Attorney General decision(s).The identifiable and foreseeable harm in disclosing this information
                                                 would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of
                                                 issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 3‐page OPLA "Practice Pointers" case summary, located on bates pages 597‐599, titled "Matter of W‐Y‐U‐, 27 I&N Dec. 17 (BIA Apr. 18, 2017) [Summary and Practice Pointers]" created on May 16, 2017. Bates page 599
                                                 states "Should you have any questions regarding this decision and its application, please do not hesitate to contact us via the ILPD‐E or ILPD‐W email boxes." The Practice Pointers case summary was drafted by an Associate Legal Advisor with the
                                                 OPLA Immigration Law and Practice Division (ILPD) and sent to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Practice Pointers case summary contains attorney work‐product and relates to on‐going and active litigation(s),
                                                                                                                                                                                                                                                                                                                        Freedom of Information Act 5
    32             597‐599           Partial     specifically immigration proceedings across the country.
                                                                                                                                                                                                                                                                                                                             U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a broadcast message from the OPLA Immigration Law and Practice Division (ILPD) to all OPLA attorneys regarding litigation strategy in light of
                                                 recent Board of Immigration Appeals (Board) decision(s) regarding administrative closures. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys
                                                 regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new Board decision(s). The identifiable and foreseeable harm in disclosing this information would
                                                 be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues
                                                 between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




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               Bates Stamp Page   Withholding
Entry Number                                                                                                                                Description of Records and Redactions, and Reasons for Redactions                                                                                                 Exemption(s) Applied
                  Number(s)       Full/Partial

                                                 Description of the Records: A 2‐page e‐mail Broadcast Message, located on bates pages 600‐601, titled "UPDATED Broadcast Message: Liberian Refugee Immigration Fairness" dated Tuesday, January 5, 2021, that contains the footer
                                                 "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" at the top of bates page 601. Bates page 600 states "This message includes internal guidance provided for internal OPLA
                                                 use only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable guidance." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                           Freedom of Information Act 5
    33             600‐601           Partial     immigration proceedings across the country.
                                                                                                                                                                                                                                                                                                                U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of recent law and guidance regarding Liberian Refugees. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation strategy in
                                                 immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges involving Liberian Refugees. The identifiable and foreseeable harm in disclosing this information would be its chilling effect on the ability of
                                                 agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues between employees, which would, in
                                                 turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 4‐page e‐mail Broadcast Message, located on bates pages 601‐604, titled "Broadcast Message: Liberian Refugee Immigration Fairness" dated Friday, February 14, 2020, that contains the footer "***PRIVILEGED***
                                                 ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" at the bottom of bates page 604. Bates page 604 also states "This message includes internal guidance provided for internal OPLA use only
                                                 and is not intended for public disclosure. Please ensure that it is treated consistent with applicable guidance. If you have questions about the implementation of LRIF or any of the guidance provided herein, please do not hesitate to contact ILPD
                                                 (ILPD‐E or ILPD‐W), FLO, or EROLD as appropriate." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically       Freedom of Information Act 5
    34             601‐604           Partial
                                                 immigration proceedings across the country.                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of recent law and guidance regarding Liberian Refugees. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation strategy in
                                                 immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges involving Liberian Refugees. The identifiable and foreseeable harm in disclosing this information would be its chilling effect on the ability of
                                                 agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues between employees, which would, in
                                                 turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




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Entry Number                                                                                                                                 Description of Records and Redactions, and Reasons for Redactions                                                                                                   Exemption(s) Applied
                  Number(s)       Full/Partial



                                                 Description of the Records: A 5‐page e‐mail Broadcast Message, located on bates pages 605‐609, titled "UPDATED Broadcast Message: Procedures on the Handling of Joint Motions for a Continuance or Administrative Closure for Ms. L Class
                                                 Members, Potential Class Members, and Their Children" dated Wednesday, September 22, 2021, that contains the header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA
                                                 ***" on bates page 605 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 609. Bates page 608 states "This message includes internal
                                                 guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable guidance." The Broadcast Message is from two (2) OPLA Deputy Principal Legal Advisors to all OPLA
                                                 attorneys. ICE is no longer asserting FOIA Exemption (b)(7)(E) on bates page 607. The information withheld under FOIA Exemption (b)(7)(E) on bates page 606 contains a screen shot of the ICE database PLAnet, along with 4 steps on how to use the
                                                 system.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically
                                                 immigration proceedings across the country. The information being withheld under FOIA Exemption (b)(7)(E) on bates page 606, contains screenshots of the ICE OPLA PLAnet database, and instructions for OPLA attorneys on how to use the system.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy
                                                                                                                                                                                                                                                                                                             Freedom of Information Act 5
    35             605‐609           Partial     in light of a recent U.S. District Court decision regarding reunification of separated families. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys
                                                                                                                                                                                                                                                                                                              U.S.C. § 552 (b)(5), (b)(7)(E)
                                                 regarding litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new U.S. District Court decision(s). The identifiable and foreseeable harm in disclosing this
                                                 information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid
                                                 discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.

                                                 FOIA Exemption (b)(7)(E): The release of information such as agency internal database screenshots and instructions related to the ICE OPLA internal database, such as its internal structure or how to move around in the system, could reasonably be
                                                 expected to allow a person to breach into sensitive law enforcement systems. As an initial matter, the information contained in these records was compiled for a law enforcement purpose, to assist in the conduct of removal proceedings before
                                                 EOIR. The PLAnet database to is a case management system used primarily by OPLA attorneys to manage their immigration cases. The basic function of the system is to provide attorneys with comprehensive information on cases being litigated
                                                 under the Immigration and Nationality Act in immigration and federal court. The disclosure of this information could aid unauthorized parties in gaining improper access to law enforcement databases and systems and assist in the unauthorized
                                                 party’s navigation of those law enforcement databases and systems. Knowing the database structure, how to navigate the system, or internal paths, could reveal sensitive information that would allow a hacker to access or manipulate the agency’s
                                                 database or systems. Disclosure of these techniques and practices could permit people seeking to violate or circumvent the law to take proactive steps to counter operational and investigative actions taken by ICE during enforcement operations.
                                                 Further, how law enforcement officers or OPLA attorneys access and navigate databases are law enforcement techniques and procedures that are not commonly known. The disclosure of this information serves no public benefit and would not
                                                 assist the public in understanding how the agency is carrying out its statutory responsibilities.




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Entry Number                                                                                                                                 Description of Records and Redactions, and Reasons for Redactions                                                                                                    Exemption(s) Applied
                  Number(s)       Full/Partial


                                                 Description of the Records: A 3‐page e‐mail Broadcast Message, located on bates pages 611‐613, titled "Broadcast Message: Settlement Agreement Impacting Aliens Who Did Not Receive Individualized Notice of the One‐Year Deadline to File an
                                                 Asylum Application ‐ Mendez Rojas v. Johnson, No. 16‐1024 (W.D. Wash. filed June 30, 2016)" dated Friday, November 6, 2020, that contains the header "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR
                                                 DISSEMINATION OUTSIDE OPLA ***" on bates page 611 and the footer "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" on bates page 613. Bates page 613 also states
                                                 "This message includes internal guidance provided for internal OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable guidance." The Broadcast Message is from two (2) OPLA Deputy
                                                 Principal Legal Advisors to all OPLA attorneys.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                                                                                                                                                                                                                                                                               Freedom of Information Act 5
    36             611‐613           Partial     prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the Broadcast Message contains attorney work‐product and relates to on‐going and active litigation(s), specifically
                                                                                                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)
                                                 immigration proceedings across the country.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney‐work product contained within a Broadcast Message from two Deputy Principal Legal Advisors to Office of the Principal Legal Advisor attorneys regarding litigation strategy in
                                                 light of a recent U.S. District Court decision regarding Asylum and Credible Fear. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding
                                                 litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from new U.S. District Court decision(s). The identifiable and foreseeable harm in disclosing this information
                                                 would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of
                                                 issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.



                                                 Description of the Records: A 3‐page e‐mail, located on bates pages 614‐616, titled "IHP NTA Review" dated Thursday, December 31, 2020. The internal OPLA‐Boston email is from the OPLA Boston Deputy Chief Counsel to all OPLA Boston
                                                 attorneys. The email, from a supervisor attorney to all other attorneys in the Boston Office, contains guidance regarding how to review and prepare Institutional Hearing Program cases.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the email contains attorney work‐product and relates to on‐going and active litigation(s), specifically immigration           Freedom of Information Act 5
    37             614‐616           Partial
                                                 proceedings across the country.                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a broadcast message from a supervisory attorney to OPLA Boston attorneys regarding litigation strategy involving the Institutional Hearing
                                                 Program. The information withheld contained guidance from senior attorneys to line attorneys regarding litigation strategy in immigration court. The identifiable and foreseeable harm in disclosing this information would be its chilling effect on the
                                                 ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues between employees, which
                                                 would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 3‐page e‐mail, located on bates pages 619‐621, titled "Brito Decision Issued ‐ Burden of Proof in 235(a) bond hearings on DHS effective December 13, 2019" dated Monday, December 2, 2019. The internal OPLA‐Boston
                                                 email is from an OPLA Boston Assistant Chief Counsel to all OPLA Boston attorneys. The email, from an attorney to all other attorneys in the Boston Office, contains guidance, strategy, and analysis regarding the burden of proof in bond hearings.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the email contains attorney work‐product and relates to on‐going and active litigation(s), specifically immigration
                                                                                                                                                                                                                                                                                                               Freedom of Information Act 5
    38             619‐621           Partial     proceedings across the country.
                                                                                                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within an email from an OPLA Boston Assistant Chief Counsel to all OPLA Boston attorneys regarding litigation strategy in light of a recent class
                                                 action lawsuit regarding the burden of proof in bond hearings. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including thoughts and guidance on how agency attorneys should proceed regarding a
                                                 recent decision issued in a class action lawsuit. The identifiable and foreseeable harm in disclosing this information would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare
                                                 to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as
                                                 well as hinder their ability to assess any future litigation risks.




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Entry Number                                                                                                                                 Description of Records and Redactions, and Reasons for Redactions                                                                                                     Exemption(s) Applied
                  Number(s)       Full/Partial


                                                 Description of the Records: A 2‐page e‐mail, located on bates pages 674‐675, titled "GBLS Decision on Motion to Dismiss and Guidance on Disclosure of Documents" dated Tuesday, January 25, 2022. The internal OPLA‐Boston email is from the
                                                 OPLA Boston Deputy Chief Counsel to all OPLA Boston attorneys. The email, from a supervisor attorney to all other attorneys in the Boston Office, contains guidance, strategy, and analysis regarding responding to requests for documents from A‐
                                                 files.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the email contains attorney work‐product and relates to on‐going and active litigation(s), specifically immigration           Freedom of Information Act 5
    39             674‐675           Partial
                                                 proceedings across the country.                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within an email from an OPLA Boston Deputy Chief Counsel to all OPLA Boston attorneys regarding litigation strategy in light of a recent U.S. District
                                                 Court decision regarding the production of records in immigration proceedings. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding
                                                 litigation strategy in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from the new U.S. District Court litigation. The identifiable and foreseeable harm in disclosing this information
                                                 would be its chilling effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of
                                                 issues between employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 1‐page e‐mail, located on bates page 676, titled "Responding to Requests for Documents from Respondents in Removal Proceedings" dated Tuesday, January 8, 2013. The internal OPLA email is from the OPLA Director
                                                 of Field Legal Operations (FLO) to all OPLA attorneys. The email, from a supervisor attorney to all other attorneys, contains guidance, strategy, and analysis regarding responding to requests for documents from respondents in removal proceedings.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the email contains attorney work‐product and relates to on‐going and active litigation(s), specifically immigration
                                                                                                                                                                                                                                                                                                               Freedom of Information Act 5
    40               676             Partial     proceedings across the country.
                                                                                                                                                                                                                                                                                                                    U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within an email from an OPLA Director to all OPLA Boston attorneys regarding litigation strategy in light of a recent U.S. District Court decision
                                                 regarding the production of records in immigration proceedings. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation strategy
                                                 in immigration court; and thoughts and guidance on how agency attorneys can overcome recent challenges resulting from the new U.S. District Court litigation. The identifiable and foreseeable harm in disclosing this information would be its chilling
                                                 effect on the ability of agency attorneys to effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues between
                                                 employees, which would, in turn, hinder the ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 3‐page Standard Operation Procedures (SOP), located on bates pages 696‐698, titled "OPLA Boston Dedicated Docket Standard Operating Procedures (1.0)" dated December 8, 2021. The internal OPLA‐Boston SOP was
                                                 transmitted via email from the OPLA Boston Deputy Chief Counsel to all OPLA Boston attorneys. The email and accompanying SOP, from a supervisor attorney to all other attorneys in the Boston Office, contains guidance regarding dedicated dockets
                                                 in the OPLA Boston AOR. More specifically, the SOP instructs, advises, and guides OPLA Boston attorneys on the Filing of Notices to Appear, Processing of Alien Files, How to Identify Cases, How to Prepare Cases, How to File Motions, and General
                                                 Considerations for Litigating Dedicated Docket Cases. On bates page 697, below the text "2. Identifying Cases in PLAnet as Dedicated Docket Cases" ICE is also asserting FOIA Exemption (b)(7)(E) because that paragraph contains an operation code
                                                 that is used in the PLAnet database.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the SOP contains attorney work‐product and relates to on‐going and active litigation(s), specifically immigration
                                                 proceedings across the country. The information withheld pursuant to FOIA Exemption (b)(7)(E) contains an internal OPLA database law enforcement sensitive database code.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a broadcast message and SOP document from an OPLA Boston Deputy Chief Counsel to all OPLA Boston attorneys regarding the dedicated
                                                                                                                                                                                                                                                                                                               Freedom of Information Act 5
    41             696‐698           Partial     docket in immigration proceedings. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation strategy in immigration court; and
                                                                                                                                                                                                                                                                                                                U.S.C. § 552 (b)(5), (b)(7)(E)
                                                 thoughts and guidance on how agency attorneys can overcome recent challenges involving the dedicated docket. The identifiable and foreseeable harm in disclosing this information would be its chilling effect on the ability of agency attorneys to
                                                 effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues between employees, which would, in turn, hinder the
                                                 ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.

                                                 FOIA Exemption (b)(7)(E): The release of information such as agency internal database codes could reasonably be expected to allow a person to breach into sensitive law enforcement systems. As an initial matter, the information contained in these
                                                 records was compiled for a law enforcement purpose, to assist in the conduct of removal proceedings before EOIR. The PLAnet database is a case management system used primarily by OPLA attorneys to manage their immigration cases. The basic
                                                 function of the system is to provide attorneys with comprehensive information on cases being litigated under the Immigration and Nationality Act in immigration and federal court. The disclosure of this information could aid unauthorized parties in
                                                 gaining improper access to law enforcement databases and systems and assist in the unauthorized party’s navigation of those law enforcement databases and systems. Knowing the database structure, how to navigate the system, or internal paths,
                                                 could reveal sensitive information that would allow a hacker to access or manipulate the agency’s database or systems. Disclosure of these techniques and practices could permit people seeking to violate or circumvent the law to take proactive
                                                 steps to counter operational and investigative actions taken by ICE during enforcement operations. Further, how law enforcement officers or OPLA attorneys access and navigate databases are law enforcement techniques and procedures that are
                                                 not commonly known. The disclosure of this information serves no public benefit and would not assist the public in understanding how the agency is carrying out its statutory responsibilities.




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Entry Number                                                                                                                                Description of Records and Redactions, and Reasons for Redactions                                                                                                   Exemption(s) Applied
                  Number(s)       Full/Partial


                                                 Description of the Records: A 5‐page Standard Operation Procedures (SOP), located on bates pages 725‐729, titled "OPLA Boston Dedicated Docket Standard Operating Procedures (1.1)" dated December 16, 2021. The internal OPLA‐Boston SOP
                                                 was transmitted via email from the OPLA Boston Deputy Chief Counsel to all OPLA Boston attorneys. The email and accompanying SOP, from a supervisor attorney to all other attorneys in the Boston Office, instructs, advises, and guides OPLA
                                                 Boston attorneys on the Filing of Notices to Appear, Processing of Alien Files, How to Identify Cases, How to Prepare Cases, How to File Motions, and General Considerations for Litigating Dedicated Docket Cases.

                                                 Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the SOP contains attorney work‐product and relates to on‐going and active litigation(s), specifically immigration           Freedom of Information Act 5
     42            725‐729           Partial
                                                 proceedings across the country.                                                                                                                                                                                                                                  U.S.C. § 552 (b)(5)

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a broadcast message and SOP document from an OPLA Boston Deputy Chief Counsel to all OPLA Boston attorneys regarding the dedicated
                                                 docket in immigration proceedings. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation strategy in immigration court; and
                                                 thoughts and guidance on how agency attorneys can overcome recent challenges involving the dedicated docket. The identifiable and foreseeable harm in disclosing this information would be its chilling effect on the ability of agency attorneys to
                                                 effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues between employees, which would, in turn, hinder the
                                                 ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.


                                                 Description of the Records: A 9‐page Standard Operation Procedures (SOP), located on bates pages 746‐754, titled "OPLA Boston Standard Operating Procedures Implementing Principal Legal Advisor Trasvina's Interim Guidance to OPLA Attorneys
                                                 Regarding Civil Immigration Enforcement and Removal Policies and Priorities (December 8, 2021)" dated December 8, 2021. The internal OPLA‐Boston SOP was transmitted via email from the OPLA Boston Chief Counsel to all OPLA Boston attorneys.
                                                 The email and accompanying SOP, from a supervisor attorney to all other attorneys in the Boston Office, contains guidance, strategy, and analysis regarding Civil Immigration Enforcement and Removal Policies and Priorities. Each page contains a
                                                 header that states "***PRIVILEGED*** ATTORNEY WORK PRODUCT***FOR OFFICIAL USE ONLY***NOT FOR DISSEMINATION OUTSIDE OPLA ***" and each page has a footer that states "This message includes internal guidance provided for internal
                                                 OPLA use only and is not intended for public disclosure. Please ensure that it is treated consistent with applicable guidance." More specifically, the SOP instructs, advises, and guides OPLA Boston attorneys on Civil Immigration Enforcement, Removal
                                                 Priorities, and How to Handle Prosecutorial Discretion Requests.

                                                                                                                                                                                                                                                                                                             Freedom of Information Act 5
     43            746‐754           Partial     Description of Redactions: The information being withheld contains attorney work‐product that was shared between government attorneys, which is subject to Exemption (b)(5). The purpose of this FOIA Exemption is to protect documents
                                                                                                                                                                                                                                                                                                                  U.S.C. § 552 (b)(5)
                                                 prepared by an attorney in contemplation of or during litigation. The information withheld pursuant to FOIA Exemption (b)(5) in the SOP contains attorney work‐product and relates to on‐going and active litigation(s), specifically immigration
                                                 proceedings across the country.

                                                 Reasons for Redactions: ICE applied Exemption (b)(5) to protect attorney work‐product contained within a broadcast message and SOP document from an OPLA Boston Deputy Chief Counsel to all OPLA Boston attorneys regarding the dedicated
                                                 docket in immigration proceedings. The information withheld contained the thoughts, opinions, and impressions of agency counsel, including guidance from senior attorneys to line attorneys regarding litigation strategy in immigration court; and
                                                 thoughts and guidance on how agency attorneys can overcome recent challenges involving the dedicated docket. The identifiable and foreseeable harm in disclosing this information would be its chilling effect on the ability of agency attorneys to
                                                 effectively communicate with each other regarding how to prepare to represent the agency in litigation. Further, disclosure of these records would also inhibit the candid discussion of issues between employees, which would, in turn, hinder the
                                                 ability of the OPLA attorneys to be fully informed about such issues as well as hinder their ability to assess any future litigation risks.




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